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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.: 16-cv-62435

 LUIS SIERRA,

        Plaintiff,

 vs.

 SYMA INTERNATIONAL LLC
 d/b/a MAWI’S CAFÉ,

       Defendant.
 ____________________________/

                                   NOTICE OF SETTLEMENT

        Plaintiff, LUIS SIERRA, (hereinafter referred to as “Plaintiff”) by and through undersigned

 counsel, hereby notifies the Court that the Plaintiff and Defendant, SYMA INTERNATIONAL

 LLC d/b/a MAWI’S CAFÉ (hereinafter referred to as “The Parties”) are in the process of executing

 the Settlement Agreement and request fifteen (15) days to finalize the settlement and file for

 dismissal of this matter. The Parties request that the Court stay all matters and pending deadlines

 in this Action and grant the Parties fifteen (15) days to finalize their written settlement agreement

 and to submit the appropriate notices and/or motions to the Court regarding dismissal of the Action.

                                  CERTIFICATE OF SERVICE

        I certify that on November 23, 2016, I electronically filed the foregoing document with the

 Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

 day on counsel of record in this action via email transmission and via transmission of Notices of

 Electronic Filing generated by CM/ECF.

                                                       Respectfully submitted,

                                                       J & M ADVOCACY GROUP, LLC
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